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                                                                               #: 92                                  B

Sam Page                                                                                                    Beth Orwick
County Executive                                                                                        County Counselor



                                                    October 13, 2022



      Jessie Steffan
      906 Olive Street, Suite 1130
      St. Louis, MO 63101

              Re: Keith Rose v. Robert Schulte.; 4:22CV-00099 JMB

      Dear Ms. Steffan:

              On September 29, 2022, I accepted service on behalf of St. Louis County, Missouri, of your
      Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil
      Action. The date and time listed on the subpoena was incorrect. In an email exchange between us on
      October 3, 2022, we established that the deadline for documents to be produced would be October 13,
      2022, at 5:00 pm.

               On October 11, 2022, in another email exchange, I indicated that the October 15, 2022, deadline
      would be impossible meet given how broad the scope of the search requested and the limitations of the
      County’s electronic communication platform. That it would be unduly burdensome and unreasonable to
      comply with the request as constructed. You inquired as to the limitations of searching across custodians,
      and I responded in another email communication on October 12, 2022.

              Additionally, in that October 11, 2022 email exchange, I explained that running a search of Mr.
      Rose’s driver license across various law enforcement platforms would be problematic as it would create
      record, would not serve any law enforcement purpose, would be in contravention of user agreements, and
      could violate section 576.050 of the Missouri Revised Statutes. You disagreed with that position, and
      opted to review my impending motion to quash on the matter.

              As of the date of this letter, I have not received any potential search terms or individuals to limit
      your request for electronic communications. A search was conducted of three individual mailboxes:
      Robert Schulte, Matthew Grimes, and Craig Molden. Utilizing the terms “Keith Rose” and “Traffic” for
      the period of November 18, 2018 to January 25, 2022, the search yielded zero (0) results.

              I intend to file the motion to quash the subpoena, however I will cooperate with you in running
      searches with the terms and individuals relevant to the litigation. Thank you.



                                                                 Sincerely,

                                                                 /s/ Christopher D. Carter

                                                                 Christopher D. Carter
                                                                 Assistant County Counselor




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